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                EXHIBIT C
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From:                                            Rousseau, Timothy J. <TRousseau@brownrudnick.com>
Sent:                                            Friday, June 4, 2021 4:56 PM
To:                                              Todd Briggs; Nima Hefazi; Margaret Shyr; Dallas Bullard; Joshua Scheufler; Joseph E.
                                                 Reed; 'rhorton@gbkh.com'
Cc:                                              Hartman, Sarah G.; Hosang, Elizabeth G.; Messing, Alessandra C.; Mena, Yarelyn; Stein,
                                                 David M.; Naughton, Edward J.; Ray Mort; Dyer-Ramnarine, Judith
Subject:                                         WSOU v. Juniper - Source Code Inspection


                                                 [EXTERNAL EMAIL from trousseau@brownrudnick.com]




Counsel for Juniper,

WSOU hereby requests that the following outside consultants who have been disclosed under the Protective Order be
permitted access to inspect the source code for the Accused Products beginning on Monday, June 21 and continuing
day-to-day thereafter:
     Chris Hardee of Lumenci, Inc.
     Deepak Patnala of Lumenci, Inc.
     Ryan Guitierrez of Lumenci, Inc.

WSOU understands that Juniper will only agree to make its source code available for inspection at its headquarters at
1133 Innovation Way, Sunnyvale, CA 94089. For the purposes of the initial code review, WSOU agrees to perform the
inspection at Juniper’s Sunnyvale location. In doing so, WSOU does not waive its right under the Protective Order to
request that Juniper make the source code available for inspection at another, mutually agreeable location.

WSOU requests that Juniper identify within 3 business days (i.e., by Wednesday, June 9) the reasonable analysis tools
appropriate for the type of source code being made available for inspection that Juniper intends to install on the Source
Code Computers so that it may determine whether to request the installation of any additional commercially available
licensed software tools for reviewing and searching source code are necessary.

Regards,
Tim




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